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 1   Maureen Jaroscak 117677
 2
     1440 North Harbor Boulevard
     Suite 900
 3   Fullerton, California 92835
 4
     (714) 514-1317
     maureenjaroscak@gmail.com
 5

 6
     Attorneys for Plaintiff,
 7   Ms. Wendy Benge
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10
                                 UNITED STATES DISTRICT COURT
11
                                CENTRAL DISTRICT OF CALIFORNIA
12

13

14
     WENDY BENGE,                                            Case No.
15
              Plaintiff,
16                                                           MS. BENGE’S COMPLAINT FOR
17            v.                                             VIOLATION OF THE AMERICANS
                                                             WITH DISABILITIES ACT, FEDERAL
18                                                           HOUSING ACT, UNRUH CIVIL
     W HOTEL HOLLYWOOD
19   MANAGEMENT, INC., a Delaware                            RIGHTS ACT, AND PREMISES AND
     Corporation; HOLLYWOOD HOTEL                            NEGLIGENCE LIABLITY
20
     OPCO, LLC, a Delaware Limited Liability
21   Company; ACORE CAPITAL                                  JURY TRIAL DEMANDED
     MORTGAGE, LP, a Delaware Limited
22
     Partnership; HOLLYWOOD & VINE
23   RESIDENCE ASSOCIATION, a California
     Corporation, and DOES 1 through10,
24
     inclusive,
25

26
               Defendants.

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30
                           MS. BENGE’S COMPLAINT FOR VIOLATION OF THE ADA, FHA, AND UNRUH ACT

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 1         Plaintiff, Ms. Wendy Benge, complains of Defendants and each of them, and for
 2 causes of action, alleges as follows:
 3                                 JURISDICTION AND VENUE
 4         1. This Court has jurisdiction over the subject matter and the parties pursuant to 28
 5 U.S.C. §§ 1331, 2201, and 2202. Ms. Benge brings this suit in her First Claim under Title
 6 III of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101, et seq., and
 7 her Second Claim under the Fair Housing Act (“FHA”), 42 U.S.C. 3601 et. seq.
 8         2. This Court has supplemental jurisdiction over the related state law claims pursuant
 9 to 28 U.S.C. § 1367(a). Ms. Benge’s Third Claim pursuant to California’s Unruh Civil
10 Rights Act, Civil Code § 51, et seq., and Fourth Claim for Premises Liability are related and
11 share a common nucleus of operative facts with her federal Claims such that a plaintiff
12 would ordinarily expect to try them all in one proceeding. Resolving all claims in a single
13 action serves the interests of judicial economy, convenience, and fairness to the parties.
14         3. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(c).
15 Defendants’ discrimination and violations of Ms. Benge’s rights as a disabled person
16 occurred within the Central District of California.
17                                           PARTIES
18         4. On March 27, 2022, Plaintiff, Ms. Wendy Benge (“Ms. Benge”), was and now is a
19 resident of the County of Los Angeles, State of California. Ms. Benge is a known decorated
20 Gulf War veteran who is physically handicapped and disabled within the meaning of the
21 Americans with Disabilities Act (“ADA”), 42 U.S.C. section 12181, the Federal Housing
22 Act (“FHA”), 42 U.S.C. section 3602(h), and 28 C.F.R. section 105(f), having suffered a
23 70% military disability rating caused by closed head trauma, scarred lungs, and burns during
24 her active duty in the U.S. Navy in 1991.
25         5. On that date, Defendant W Hotel Hollywood Management, Inc., was and now is a
26 corporation organized under Delaware law, with its principal place of business in Bethesda,
27 Maryland, and acting as the agent, joint venture, and manager with the other Defendants in
28 Los Angeles County for the W Hotel Hollywood and Residence located at 6250 Hollywood

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 1 Blvd., Hollywood, CA 90028, built in 2009 as a public accommodation, commercial facility,
 2 and covered entity under ADA § 12181; 28 C.F.R. §§ 26.102, and FHA § 3603-04.
 3         6. On that date, Defendant Hollywood Hotel OpCo, LLC., was and now is a Limited
 4 Liability Company organized and existing under Delaware law, with its principal place of
 5 business in Honolulu, Hawaii, and engaged in business in Los Angeles County, as the
 6 licensee under a license from ACORE Capital Mortgge, LP, as co-manager and joint
 7 venturer to operate the W Hollywood Hotel and Residence with the other Defendants as a
 8 public accommodation, commercial facility, and covered entity under ADA § 12181; 28
 9 C.F.R. §§ 26.102, and FHA § 3603-04.
10         7. On that date, Defendant ACORE Capital Mortgage, LP, was and now is a Limited
11 Partnership organized and existing under Delaware law, with its principal place of business
12 in Larkspur, California, and engaged in business in Los Angeles County, as the Lease holder
13 in possession of the W Hotel and Residences, including where Ms. Benge was injured, the
14 licensor to Hollywood Holtel OpCo, LLC., and the co-manager and joint venturer with the
15 other Defendants as a public accommodation, commercial facility, and covered entity under
16 ADA § 12181; 28 C.F.R. §§ 26.102, and FHA § 3603-04.
17     8. On that date, Hollywood & Vine Residence Association was and now is a
18 corporation organized and existing under California law and engaged in business in Los
19 Angeles County as the Homeowners Association owner-operator of the W Hollywood
20 Residences, joint venturer with the other Defendants, and a covered entity under ADA §
21 12181; 28 C.F.R. §§ 26.102 and 36.104, and FHA § 3603-04.
22         9. Pursuant to Local Rule 19.1, Ms. Benge is unaware of the true names and identities
23 of Doe Defendants 1 through 10, inclusive, and therefore sues them by these fictitious
24 names. Ms. Benge is informed and believes that each Defendant designated as a Doe is
25 legally responsible for the events and happenings described in this Complaint, caused or
26 contributed to Ms. Benge’s injuries and damages, or was the agent, representative, or
27 employee of each other Defendant. When Ms. Benge has ascertained the identities of these
28 fictitious Defendants, Ms. Benge will amend this Complaint to include their identities.

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 1                                 STATEMENT OF THE CASE
 2         A. Ms. Benge’s Background
 3                1. Ms. Benge’s military services and 70% disability rating
 4         10. Ms. Benge served in the U.S. Navy from 1988 to March, 1991, where she was an
 5 Airman and Anti-Submarine Warfare Technician for warfare airborne strategic weapons
 6 systems at Operational Air Test and Evaluation Squadron One. She flew in fixed-wing
 7 Maritime Patrol Aircraft, including the Lockheed P-3c Orion 2V Neptune and Sikorsky SH-
 8 60 Seahawk helicopter to meet national security threats. While on active duty in an
 9 undisclosed and classified location during the Gulf War era in January 1991, Ms. Benge
10 suffered a closed head injury, burned lungs, and other injuries that left her unconscious until
11 she awoke at Bethesda Naval Hospital in Bethesda, Maryland. She had been exposed to
12 chemical solvent gas that scarred her lungs and skin. She had permanent disabilities which
13 caused petit-mal seizures, memory loss, migraines, arthritis, learning disabilities, difficulty
14 ambulating, post-traumatic stress disorder (“PTSD”), asthma, retinitis, and scarred lungs.
15         11. Ms. Benge’s sustained physical and mental impairment and disabilities which
16 have a substantial limitation on one or more of her major life activities and are regarded by
17 the United States as a disability described in 42 U.S.C. §§ 12102(2) & 12132, and 28 C.F.R.
18 section 105(f). For her services Ms. Benge received a U.S. Commendation Medal from the
19 Secretary of Navy for valor, and a Defense Medal from the U.S. Navy. Ms. Benge was
20 honorably discharged on March 8, 1991, from the Navy with a 70% disability rating after
21 three and one-half (3½) years on active duty until she sustained her injuries.
22                2. Ms. Benge’s legal education and activities as an attorney
23         12. Following her discharge from the U.S. Navy, Ms. Benge received a Bachelor of
24 Arts degree in Philosophy and Religion from the University of Southern California in 1997
25 and 1998, where she had a full military disability scholarship. Ms. Benge was required to
26 attend special disability education programs because of her loss of memory, inability to
27 recall words, and spelling difficulties. Despite her injuries, Ms. Benge received a Bachelor
28 of Laws Degree from the University of Canterbury in New Zealand in April, 2022. On May

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 1 10, 2002, Ms. Benge was admitted as both a Barrister and Solicitor in New Zealand, and on
 2 June 4, 2002 Ms. Benge was admitted as a Legal Practitioner to the Supreme Court of New
 3 South Wales, Australia. Ms. Benge received a Master of Laws Degree from Duke
 4 University School of Law in Durham, North Carolina in 2003, where she was awarded the
 5 Order of the Coif, was the President of Phi Delta Phi Law Fraternity, head of her class, and
 6 served as a member of the Duke University Bar Association. She was admitted to the
 7 California State Bar in 2005. Ms. Benge studied Philosophy at Edinburgh University in
 8 Scotland in 1996, and Project Finance at Hong Kong University of Law in 2001.
 9         13. Since 2005, Ms. Benge has been engaged in the active practice of law in the
10 television and motion picture industry. She was in-house Counsel and Vice President of
11 Legal and Business Affairs at Landmark Entertainment in 2005. She was employed at the
12 law firms of Stroock & Stroock & Lavan LLP in 2007, and Akin Gump Strauss Hauer &
13 Feld LLP in 2010. Ms. Benge’s legal representation ranges from studio productions and
14 independent films to scripted and unscripted television. She provides personal representation
15 to prominent figures and films such as 'Lee Daniels' "The Butler" (2013) starring Forest
16 Whitaker and Oprah Winfrey; “New York, ‘I Love You’” (2008) starring Natalie Portman,
17 Bradley Cooper, Orlando Bloom and Blake Lively; “Brothers Bloom” (2008) starring
18 Adrian Brody and Rachel Weisz. Ms. Benge has produced such films as “Life of Crime"
19 (2013) starring Jennifer Anniston, Isla Fisher and Tim Robbins; “Life After Beth” (2014)
20 starring John C. Reilly; “Walk On” (2013); “Apartment Troubles” (2014) starring Will
21 Forte; “Broken Vows” (2016) starring Wes Bentley, Cam Gigandet and Jaimie Alexander;
22 “The Capture” (2019); “The Talking Tree" (2019); and “Somewhere Slow” (2022), and
23 others. Ms. Benge founded the production company Bullet Entertainment with offices in
24 Los Angeles and Wellington, New Zealand.
25            3. Ms. Benge’s residence at the W Hotel Residences
26         14. In November, 2021, Ms. Benge became a resident in the W Hotel Hollywood
27 Residence. Ms. Benge chose the W Hotel Residence, which is jointly managed with the
28 Hotel, as her home because when Defendants approved the lease of her unit from a current

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 1 owner, Defendants represented in writing they were handicapped accessible and ADA
 2 compliant. (Exhibit “A”). Defendants written accessibility policy for the W Hotel also
 3 stated the facility was ADA compliant and accessible to handicapped people. (Exhibit “B”).
 4        15. When Ms. Benge moved into the facility, she provided Defendants with a May 5,
 5 2021 letter from Dr. Michael Sedrak which qualified Ms. Benge’s dog, Bijou, as a service
 6 dog (Exhibit “C”). Dr. Sedrak’s letter stated and informed Defendants:
 7               “Ms. Benge has been a patient under my care since 2013. Ms. Benge is a 70%
 8        disabled veteran with underlying medical conditions. I am intimately familiar with her
          medical history and the functional limitations imposed by her disabilities and related
 9        disorders. I am requesting and recommending that Ms. Benge receive the medical
10        benefits for her disability and by the ownership of her Service Dog Bijou dela Hound.
                 “Ms. Benge meets the definition of disability under the Americans with
11        Disabilities Act, Fair Housing Act and the Rehabilitation Act of 1973 by the
12        continued suffering of petit-mal epilepsy, absent seizures, head trauma and PTSD
          among other ailments consisting of asthma, scarred lungs and anxiety.
13               “Due to symptoms associated with her disability/disorder Ms. Benge has certain
14        limitations that substantially limit one or more major life activities. This includes
          physiological and psychological disturbances of which having a service dog, around
15        the clock, including housing and her work environment, greatly benefits her life and
16        are a medical necessity.”

17        B. Ms. Benge’s Injuries on March 27, 2022

18               1. The W Hotel and Residence invited Ms. Benge to an Oscars party

19        16. On March 27, 2022, Ms. Benge was a resident of the W Hotel and was invited by

20 the W Hotel Residence and Hotel management to attend a live video viewing party in the
21 Hotel lobby of the Academy of Motion Pictures Arts and Sciences 2022 Oscars Awards.
22 Ms. Benge is a Member of the Producers Guild of America. While she was at the event,
23 Defendants provided her with alcoholic beverages. However, Ms. Benge felt safe in
24 consuming alcohol because she was in the W Hotel which was in the same building as her
25 residence. Ms. Benge could access her residence by walking through a Hallway which
26 connected the Hotel lobby to her residence building.
27      17. Following the Oscars presentation, a Jazz Performance began at the W Bar in the

28 Hotel lobby. While Ms. Benge had a seat during the Oscars presentation, the Hotel

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 1 management informed Ms. Benge she would have to give up her seat to other patrons. Ms.
 2 Benge stated to the management she was disabled, had consumed alcohol, and needed a seat.
 3 However, the Hotel management refused to provide a seat and required she stand at the Bar
 4 when the management and bartender knew she was disabled from previous discussions and
 5 prior accommodation requests due to her disability.
 6         18. Shortly prior to mid-night on March 27, 2022, Ms. Benge walked 30-yards
 7 through the Hotel lobby toward the Vine Street side of the building to a door leading to the
 8 Hallway access for W Hotel Residents. Ms. Benge leased an apartment in the W Residence,
 9 and the Hallway was the only access to her residence without going outside the building
10 which was dangerous at night. The doorway displayed a sign which stated “Resident Access
11 Only” and a logo for the “W Hotel & Residences.” There was no sign indicating a mobility
12 ramp or handicapped access, and while Ms. Benge had traversed the Hallway several times
13 in the past, she was unaware of any handicapped ramp in the Hallway because it was
14 concealed by several heavy red blackout curtains which blocked the entrances on the top and
15 bottom of the stairs indicating privacy and no admittance behind the curtained-off areas.
16               2. Ms. Benge fell on the stairs not knowing there was a handicapped ramp
17         19. Ms. Benge entered the Hallway which is located on the west side of the Hotel
18 Lobby and was jointly owned, managed, leased, or operated by each of the Defendants. Ms.
19 Benge moved toward the stairway leading down from the upper Hotel lobby level to the
20 lower Residence level. The Hallway was unreasonably dark making it difficult to see, had
21 burnt out lights, uneven steps on the stairway, and carpeting with high warn matting. The
22 heel of Ms. Benge’s shoe caught on the carpeting of the second stairway step and caused Ms.
23 Benge to fall and tumble down the stairs resulting in severe injuries to her shoulder, arms,
24 back, chest, an acute compound fracture of her clavicle, damage to her cervical spine,
25 scapula, neck, left side of her head and arm. In severe pain, Ms. Benge crawled in the dark
26 hallway to trigger an alarm on the Residence door, and the Residence concierge responded
27 and called an ambulance because Ms. Benge’s collar bone was pushing through the skin.
28         20. At the hospital, an X-Ray below (Exhibit “D”) showed her injury:

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           21. Ms. Benge underwent multiple hospitalizations, surgeries, and the insertion of a
11
     titanium metal plate with 10 pins. However, the bones did not heal and left her shoulder and
12
     arm hanging by the tendons causing pain and immobility. Ms. Benge has experienced
13
     permanent disability, scaring, and pain as shown by the X-Ray below (Exhibit “E”):
14
15
16
17
18
19
20
           C. Defendants Discriminated Against Ms. Benge Based on her Disabilities
21
                 1. Defendants knew Ms. Benge had to go through the dangerous Hallway
22
           22. Defendants knew Ms. Benge was disabled under ADA, 42 U.S.C. § 12181, et
23
     seq.; FHA, 42 U.S.C. 3601 et. seq.; and the Unruh Act, Civil Code § 51 et seq. Defendants
24
     engaged in intentional discrimination against Ms. Benge by concealing the handicapped
25
     ramp in the Hallway between the W Hotel and Residences and placing blackout curtains
26
     across both ramp entrances. Defendants blocked access, created inaccessible barriers,
27
     misrepresented the Hotel’s accessibility, deterred Ms. Benge from visiting the Facility, and
28
     failed to place ADA signs and placards in the W Hotel and Residences’ entrance and exit.

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 1         23. Defendants owned, maintained, leased, and failed to repair the Hallway, and they
 2 failed to warn of the concealed handicapped access ramp which was originally placed in the
 3 Hallway because of its known dangerous conditions. Defendants misrepresented to Ms.
 4 Benge, who had to travel through the Hallway to reach her home, that the Facility was
 5 handicapped accessible, while they concealed the handicapped ramp. Defendants failed to
 6 warn her of the dangers from the dark Hallway where lights were burned out, the uneven
 7 stairway steps, the high mat and worn carpeting and the absence of handicapped signs.
 8               2. Defendants discriminated against Ms. Benge with a video of her injury
 9         24. On April 27, 2022, Ms. Benge requested the head of Defendant W Hotel
10 Management to provide her with a copy of the video tape of her fall taken from the closed
11 circuit T.V. in in the Hallway on March 27, 2022. She needed the video to assist her
12 physicians in diagnosing the nature of her injury. The Manager refused to provide the video
13 stating Defendants would not permit its release and that if Ms. Benge wanted such video she
14 would need to issue a subpoena.
15         25. However, Ms. Benge later learned from other homeowners and staff at the
16 Residence that the video had been released to numerous individuals in an uncontrolled
17 humiliating distribution where individuals had the video on their IPhones and were showing
18 the video to their friends and acquaintances while making humiliating derogatory comments
19 about Ms. Benge, her disabilities, and her injuries. Defendants’ unauthorized video
20 distribution created social opprobrium, an irrational discrimination against her new
21 disability, and shame from the video’s display to numerous other individuals. Defendants
22 engaged in discrimination against Ms. Benge by subjecting her to social stigma, indignity,
23 and mental anguish through the unauthorized distribution of the video.
24                                        FIRST CLAIM
25       (Against All Defendants for Denial of Full and Equal Access, Concealment of
26       Handicapped Access, and Failure to Erect Signs in Violation of Title III of the
              Americans with Disabilities Act of 1990 42 U.S.C. § 12181, et seq.)
27
           26. Ms. Benge refers to paragraphs 1-25, inclusive and incorporates them in this
28
     Claim.
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 1         A. Defendants Have Engaged in Willful Violations of the ADA
 2                1. Defendants denied Ms. Benge full and equal access to the Facility
 3         27. On July 26, 1990, Congress enacted the Americans with Disabilities Act
 4 ("ADA"), 42 U.S.C. §12101 et. seq. Pursuant to Title III, 42 U.S.C. §12181(7), and 28 CFR
 5 §36.104, no individual may be discriminated against on the basis of disability with regards to
 6 the full and equal access and enjoyment of the goods, services, facilities, or accommodations
 7 of any place of public accommodation by any person who owns, leases (or leases to), or
 8 operates a place of public accommodation. The W Hotel and Residence are a place of public
 9 accommodation and establishment which provides goods and services to the general public
10 and must comply with the ADA. The Facility is open to the public, its operations affect
11 commerce, and it is a sales establishment. 42 U.S.C. § 12181 (7) and 28 C.F.R. § 36.104.
12         28. Defendants are a “place of public accommodation” and a facility operated by a
13 private entity which affects interstate commerce and is: (1) an inn, hotel, motel, or other
14 place of lodging; (2) a restaurant, bar, or other establishment serving food or drink; (3) a
15 motion picture house, theater, concert hall, stadium, or other place of exhibition or
16 entertainment; (4) an auditorium, convention center, lecture hall, or other place of public
17 gathering; (8) a museum, library, gallery, or other place of public display or collection; and
18 (12) a gymnasium, health spa, bowling alley, golf course, or other place of exercise or
19 recreation. ADA, 42 U.S.C. § 12181(7); 28 CFR § 36.104.
20         29. As a public accommodation, Defendants are governed by ADA Title III which
21 provides that individuals with disabilities may not be “excluded from participation in or be
22 denied the benefits of the services, programs or activities of a public entity,” nor may they be
23 “subjected to discrimination by any such entity.” 42 U.S.C. § 12181. The obligation to
24 ensure disability nondiscrimination includes an obligation to ensure equal safety.
25 Defendants violated the ADA by failing to provide Ms. Benge with a safe facility and denied
26 equal access to handicapped facilities. Defendants discriminated against Ms. Benge and
27 others who are similarly situated, by denying access to, and full and equal enjoyment of
28 goods, services, facilities, privileges, advantages and/or accommodations at Defendant’s

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 1 premises, and improper distribution of the video.
 2         30. Discrimination also includes a failure to remove architectural barriers in existing
 3 facilities where such removal is readily achievable, or where removal of a barrier is not
 4 readily achievable, “a failure to make such … facilities… or accommodations available
 5 through alternative methods, if such methods are readily achievable.” 42 U.S.C. § 12181
 6 (b)(2)(A)(iv) and 42 U.S.C. § 12181 (b)(2)(A)(v). Defendants violated the ADA by
 7 concealing the handicapped entrance to the ramp, failing to remove the obstruction when
 8 such removal was readily achievable, failing to have handicapped signs, and failing to act in
 9 a manner that could affect the usability of the facility. Defendants failed to warn, give notice
10 of, and remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).
11               2. Defendants intentionally concealed the Handicapped Access Ramp
12         31. Defendants engaged in willful and intentional misrepresentations they were ADA
13 compliant and concealed the handicapped access ramp in the Hallway between the Hotel
14 lobby and Residences. Defendants placed a blackout curtain across both entrances of the
15 ramp. Defendants’ management, whose offices were located in the Hallway and whose
16 names are within Defendants’ exclusive knowledge, had seen Ms. Benge pass through the
17 Hallway on other occasions prior to March 27, 2022, and they knew Ms. Benge would
18 utilize the Hallway on March 27, 2027. There were no handicapped signs or placards on the
19 Residence or Hotel entrances to the Hallway, and management personnel failed and refused
20 to point out or identify to Ms. Benge the existence of the ramp.
21        32. Defendants knew Ms. Benge was handicapped and had a 70% disability rating
22 from the Navy. Ms. Benge had provided Defendants with a written doctor’s report
23 identifying her disability. Despite knowing of Ms. Benge’s handicap and disability,
24 Defendants failed and refused to identify to her the hidden handicapped access ramp.
25      33. The Discrimination Defendants have practiced “includes --a failure to make
26 reasonable modifications in policies, practices, or procedures, when such modifications are
27 necessary to afford such goods, services, facilities, privileges, advantages, or
28 accommodations to individuals with disabilities, unless the entity can demonstrate that

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 1 making such modifications would fundamentally alter the nature of such goods, services,
 2 facilities, privileges, advantages, or accommodations.” 42 U.S.C. § 12182(b)(2)(ii)
 3                3. Defendants violated the ADA Accessibility Standards
 4                      a. Defendants discriminated by the failure to post signs
 5         34. Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
 6 Department of Justice, Office of the Attorney General, promulgated Federal Regulations to
 7 implement the ADA’s requirements. The ADA Accessibility guidelines (“ADAAG”), 28
 8 C.F.R. Part 36, may cause violators civil penalties of up to $97,523 for the first violation and
 9 greater amounts for subsequent violation. The Department of Justice (DOJ) and the
10 Department of Transportation (DOT) have issued ADA Accessibility Standards. DOJ’s
11 ADA Standards apply to all facilities except public transportation facilities, which are
12 subject to DOT’s ADA Standards. Defendants are required to comply with the ADA
13 Accessibility Standards which apply to places of public accommodation, commercial
14 facilities, and state and local government facilities in new construction, alterations, and
15 additions. The ADA Standards are based on minimum guidelines set by the Access Board.
16         34. The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28 C.F.R.
17 36.302 et. seq., and are discriminating against Ms. Benge with the following violations
18 which Ms. Benge personally encountered and has knowledge:
19                (1) ADA Standard 201.6 requires that building entrances comply with 404
20 regarding doorway and gate compliance and shall be identified by the International Symbol
21 of Accessibility complying with 703.7.2.1. Directional signs complying with ADA Standard
22 703.5 that indicate the location of the nearest entrance complying with 404 shall be provided
23 at entrances that do not comply with ADA Standard 404;
24                (2) ADA Standard 206.2.3.1 requires alternate accessibility routes for stairs;
25                (3) ADA Standard 206.3 requires the accessibility routes for stairways to be in
26 the same area as the stairway;
27             (4) ADA Standard 404.2.3 relating to doorways: “There shall be no projections
28 into the required clear opening width lower than 34 inches (865 mm) above the finish floor

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 1 or ground. Projections into the clear opening width between 34 inches (865 mm) and 80
 2 inches (2030 mm) above the finish floor or ground shall not exceed 4 inches (100 mm).”
 3               (5) ADA Standard 216.4.1 requires there be signs at exit doors, exit
 4 passageways, exit discharge, and exit stairways, and the signage comply with 703.1, 703.2,
 5 and 703.5 which require with raised characters of 1/32 inch above their background, in
 6 uppercase, and accompanied by braille;
 7               (6) ADA Standard 703.1 states that when signs are required either one sign
 8 with both visual and tactile characters be provided, or two separate signs, one with visual,
 9 and one with tactile characters, shall be provided;
10         36. Defendants failed to provide notification to Ms. Benge or signs at the entrance and
11 exit to the building. Defendants failed to identify the handicapped access ramp in the
12 Hallway or on the doors and passage ways leading to the Hallway. Defendants’ failure to
13 post signs and provide notifications constituted a violation of the ADA.
14                      b. Defendants violated the California Building Codes
15         37. In addition to the Department of Justice ADA Accessibility Standards,
16 Defendants’ facility was required to meet the standards of the 1998 California Building
17 Codes (“CBC”), (Physical Access Regulations). The California's Building Standards Codes
18 are found in Title 24 of the California Code of Regulations (CCR), and are designed to
19 comply with the requirements of the Americans with Disabilities Act (ADA) and State
20 statutes. Defendants violated the following CBC provisions:
21             (1) The International Symbol of Accessibility must be displayed at building
22 entrances and in the lobbies of buildings which have been remodeled to provide accessible
23 sanitary facilities. (1998 California Building Code (“CBC”) §§ 1114A and 1117A.3;
24               (2) All primary and exterior ground-floor exit doors to buildings and facilities
25 shall be made accessible to individuals with disabilities. (CBC § 1120A.1.1.) Both doors of
26 double doors designated as a public entrance must be kept unlocked during normal business
27 hours. (Health & Saf. Code, § 13011.). The Hallway leading from the W Hotel to the W
28 Residences constituted a ground-floor exit door. The exit was not handicapped accessible

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 1 because of the lack of signs and concealment of the handicapped access ramp;
 2                (3) Paths of travel must be accessible. There are also accessibility requirements
 3 for ramps; striping for persons with visual impairments; wheel guides; detectable warnings;
 4 and door pressure, surfaces and hardware. (CBC §§ 1102A et seq.; 1102B; 1114B.1.2;
 5 1127B.1 et seq.; and 1133B.2.5 et seq.; Gov. Code, § 4460.). Defendants violated the CBC
 6 requires for accessibility for ramps and detectable warnings.
 7                      c. The distribution of the video was an irrational discrimination
 8         38. The distribution of the March 27, 2022, video of Ms. Benge’s injury to persons
 9 who had no right or need to have the video and who showed the video to other persons while
10 making appalling comments about Ms. Benge’s condition, constituted an intentional and
11 irrational discrimination based on Ms. Benge’s past and newly acquired disability. It
12 humiliated her to peers in her industry who reside at the Residence.
13         39. Ms. Benge believes there are other past and current violations of the ADA at
14 Defendants’ facility. Only upon full inspection of Defendants’ records, logs, and physical
15 facility can all violations be identified. A complete list of violations will require
16 examination of records, plans, and an on-site inspection by Ms. Benge’s representatives.
17      40. Ms. Benge further believes that removal of the discriminatory barriers and
18 violations are readily achievable and technically feasible. Failure to remove such barriers has
19 deterred Ma. Benge from visiting the facility. To date, the readily achievable barriers and
20 other violations of the ADA still exist and have not been remedied or altered in such a way
21 as to effectuate compliance with the provisions of the ADA.
22         B. Ms. Benge is Entitled to Injunctive Relief
23                1. Defendants are engaged in a continuing violation of the ADA
24         41. Ms. Benge is a resident at the W Hotel Residence, and since March 27, 2022, Ms.
25 Benge has continued to ingress and egress the Facility by visiting the W Hotel through the
26 Hallway on numerous occasions where she, and persons similarly situated, have been
27 subjected to Defendants’ continued failure to comply with the ADA, failure to have signage,
28 failure to provide equal access to disabled individuals, misrepresentations of accessibility,

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 1 and the continued concealment of the handicapped ramp with the heavy black-out curtains.
 2         42. As of the date of filing this complaint in March, 2023, the hallway continues to
 3 have no signage, warning, or indications which comply with the ADA. There is no notice to
 4 any patron that there is a handicapped access ramp within the Hallway. The public and Ms.
 5 Benge have been subject to a continuing discrimination, denial of accommodations, and
 6 failure to comply with the mandates of the ADA.
 7         43. Ms. Benge will suffer a future injury as she intends to return and enjoy the goods
 8 and services at the Subject Facility within the next weeks and months because she lives
 9 there. She has been deterred from visiting the Facility because of continuing violations. The
10 Subject Facility is in close proximity to Ms. Benge’s residence and is in an area Ms. Benge
11 has and will continue to frequent and travel through. However, Ms. Benge is impaired or
12 precluded from doing so by the Defendants' failure and refusal to provide people with
13 disabilities with full and equal access to their facility. Ms. Benge continues to suffer from
14 discrimination and injury due to the architectural barriers which are in violation of the ADA.
15                2. The Court should issue an injunction against architectural barriers
16         44. Removal of the discriminatory barriers and violations is readily achievable and
17 technically feasible. To date, the readily achievable removal of barriers and other violations
18 of the ADA still exist and have not been remedied or altered in such a way as to effectuate
19 compliance with the provisions of the ADA.
20      45. Pursuant to section 12188, the Court should grant injunctive relief because unless
21 enjoined Defendants will continue to discriminate against Ms. Benge, and others who are
22 similarly situated, by denying access to, and full and equal enjoyment of goods, services,
23 facilities, privileges, advantages and accommodations at the Subject Facility by failing to
24 remove architectural barriers pursuant to 42 U.S.C. §12182 (b)(2)(A)(iv).
25                3. The Court should restrain current policies, practices, and procedures
26         46. Defendants have failed to make reasonable modifications in policies, practices, or
27 procedures to ensure full and equal enjoyment of goods, services, facilities, privileges,
28 advantages and accommodations at Defendants’ Facility to Ms. Benge, and similarly

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 1 situated individuals. Unless enjoined by the Court, Defendants will continue to discriminate
 2 against Ms. Benge, and others who are similarly situated, by denying access to, and full and
 3 equal enjoyment of goods, services, facilities, privileges, advantages and accommodations at
 4 the Subject Facility by failing to make reasonable modifications in policies, practices, or
 5 procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii).
 6               4. The Court should issue injunctive relief to maintain compliance
 7         47. Defendants have a long and continuing history of violating the ADA. Following
 8 Ms. Benge’s March 27, 2022, injury, Ms. Benge met with and discussed with Defendants’
 9 management personnel the concealed handicapped access ramp behind the blackout curtains
10 and informed them that she had no knowledge of the existence of the handicapped access
11 ramp prior to her injury. Nevertheless, Defendants have continued to conceal the
12 handicapped access ramp with blackout curtains, fail to post signs, fail to notify handicapped
13 individuals of handicapped access, and distribute the video.
14         48. The Defendants’ Facility has architectural barriers which Ms. Benge personally
15 encountered on March 27, 2022, causing extensive injury. Removal of the discriminatory
16 barriers and violations is readily achievable and technically feasible. To date, the readily
17 achievable barriers and other violations of the ADA still exist and have not been remedied or
18 altered in such a way as to effectuate compliance with the provisions of the ADA.
19        48. Unless enjoined by the Court, Defendants will continue to discriminate against
20 Ms. Benge, and others who are similarly situated, by denying access to full and equal
21 enjoyment of goods, services, facilities, and accommodations at the Facility, failing to
22 maintain ADA compliance, distributing the video, allowing reversion to noncompliance, and
23 failing to enforce any modifications in policies, practices, or procedures.
24         C. Ms. Benge is Entitled To Declaratory Relief
25         50. An actual controversy now exists between Ms. Benge and Defendants because
26 Defendants’ Facility has architectural barriers which Ms. Benge has personally encountered,
27 and has caused her injury and damages. This controversy further exists because:
28               (1) Defendants have failed and refused to make reasonable modifications in

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 1 policies, practices, or procedures to ensure full and equal enjoyment of goods, services,
 2 facilities, privileges, advantages and accommodations at the Defendants’ Facility for Ms.
 3 Benge and similarly situated individuals with disabilities;
 4               (2) Defendants have discriminated against Ms. Benge by failing to have
 5 disability signs and warning in compliance with the ADA;
 6               (3) Defendants have failed and refused to remove architectural barriers and the
 7 concealment of the handicapped access ramp pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).
 8               (4) Defendants have discriminated against Ms. Benge on the basis of disability
 9 by the unwarranted distribution of the video.
10         51. A declaration of the parties’ rights and obligations is appropriate at this time
11 because Defendants will continue to discriminate against Ms. Benge, and others similarly
12 situated, by denying access to, and full and equal enjoyment of goods, services, facilities,
13 privileges, advantages and accommodations at the Subject Facility.
14                                        SECOND CLAIM
15    (Against All Defendants for Violation of the Fair Housing Act, 42 U.S.C. 3601 et. seq.
16                         and Discrimination Based on Disability)

17         52. Ms. Benge refers to Paragraphs 1- 25, and paragraphs 27-51, inclusive, and

18 incorporates them in this paragraph.
19       53. On March 27, 2022, Ms. Benge was a tenant and resident of the W Hollywood

20 Residence located at 6250 Hollywood Boulevard, Hollywood, California 90028, which has
21 more than 132 single family dwelling units. The Residence project was jointly managed by
22 each of the Defendants with joint responsible for the ownership, occupancy, repair,
23 maintenance, leasing, supervision, inspection, and real estate transactions for the premises.
24         54. At some time before midnight on March 27, 2022, Ms. Benge was walking on her

25 way home and seeking to gain access through the W Hotel lobby to the W Hotel Residences
26 as a disabled and handicapped person living in the W Hotel Residence. Ms. Benge
27 experienced discrimination, barriers, misrepresentations of accessibility, and the
28 concealment of handicapped facilities as she attempted to get home from the Oscars after-

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 1 party knowing she was disabled. Defendants permitted Ms. Benge to walk 30-yards into an
 2 area where Defendants knew it was dangerous for Ms. Benge to traverse.
 3         55. Defendants obstructed her ability to get home by creating architectural barriers to
 4 access her housing and concealing the handicapped access ramp in the Hallway between the
 5 W Hotel lobby and the W Hotel Residences. Defendants failed to have signs indicating
 6 where handicapped access might exist, and Defendants failed to warn Ms. Benge of the
 7 known dangers presented by their concealment of the handicapped access ramp. Defendants
 8 violated the FHA, 42 U.S.C. § 3601 et seq., by discriminating against Ms. Benge’s
 9 disability, intentionally concealing the ramp, failing to post signs, failing to warn of the
10 known dangers presented by the stairway in the Hallway of which Defendants knew
11 presented a disparate impact discrimination and danger to handicapped persons which was
12 the reason the Facility had constructed the handicapped access ramp in the first instance.
13         56 The FHA prohibits discrimination by direct providers of housing, such as
14 landlords, real estate managers, and other entities, including homeowner associations,
15 engaged in real estate transactions whose discriminatory practices make housing unavailable
16 to persons because of disability. Id. § 3605. The FHA prohibits discrimination on the basis
17 of disability and defines persons with a disability to mean those individuals with mental or
18 physical impairments that substantially limit one or more major life activities. Mental or
19 physical impairment may include conditions such as mobility impairment, alcoholism,
20 chronic fatigue, and head injury. The term major life activity includes walking, performing
21 manual tasks, caring for one's self, or working. The FHA also protects persons who have a
22 record of such impairment or are regarded as having such impairment. Id. § 3602(h)
23       57. The FHA defines discrimination in housing against persons with disabilities to
24 include a failure "to design and construct" certain new multi-family dwellings so that they
25 are accessible to and usable by persons with disabilities and particularly people who use
26 wheelchairs. Id. § 3604(f)(3). The Act requires all newly constructed multi-family
27 dwellings of four or more units intended for first occupancy after March 13, 1991, to have
28 certain features: an accessible entrance on an accessible route, accessible common and

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 1 public use areas, doors sufficiently wide to accommodate wheelchairs, accessible routes into
 2 and through each dwelling, light switches, electrical outlets, and thermostats in accessible
 3 location, reinforcements in bathroom walls to accommodate grab bar installations, and
 4 usable kitchens and bathrooms configured for wheelchairs. Id. § 3604(f)(3)(c).
 5         58. On March 27, 2022, the Hallway between the W Hotel lobby and W Hotel
 6 Residence was not accessible by disabled persons because of known barriers preventing
 7 handicapped persons from safely utilizing the Hallway. Ms. Benge was attempting go home
 8 from a celebration to which Defendants had invited her as a guest and patron, and
 9 Defendants knew Ms. Benge could not safely access her home from the event due to the
10 concealment, barriers, and inaccessible handicapped access ramp which Defendants had
11 intentionally concealed with a heavy blackout curtain which prevented Ms. Benge from
12 knowing of the ramp. Defendants acted as the owner, agent, manager, lessor, and supervisor
13 of the premises in failing to warn Ms. Benge, engaging in discrimination against her,
14 concealing the handicapped access ramp from Ms. Benge and persons similarly situated, and
15 distributing the video as part of the discrimination against her.
16         59. The FHA permits Ms. Benge, as an aggrieve person who experienced
17 discrimination based on disability and barriers to her access to her home, to bring a civil suit
18 to obtain relief from the discrimination. Id. § 4613(a)(1)(A). Ms. Benge may bring civil
19 proceedings “whether or not a complaint has been filed under section 810(a)” of the FHA. Id
20 § 3613(a)(2). Ms. Benge is entitled to injunctive, declaratory, compensatory and punitive
21 damages relief, along with the award of attorney’s fees to the prevailing party. Id. § 3613.
22      60. As a proximate result of Defendants conduct, Ms. Benge has been injured in an
23 amount not presently ascertained. Ms. Benge’s suffered and continues to suffer permanent
24 physical injuries, disfigurement, scars, medical costs and expenses, loss of income and
25 earning capacity, loss of enjoyment of life, physical and mental pain, suffering, emotional
26 distress, exacerbation of her prior physical and mental injuries, and other damages not
27 presently ascertained. At such time as Ms. Benge has ascertained such damages, she will
28 amend this Complaint to include such damages.

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1          61. As a further proximate result of Defendants’ conduct, which was willful,
2 intentional, and deliberate, Ms. Benge is entitled to punitive damages as proved at trial.
3          62. As a further proximate result of Defendant’s conduct, Ms. Benge is entitled to the
4 injunctive and declaratory relief which is set forth in this Complaint.
5                                           THIRD CLAIM
6               (Against all Defendants for Violation of the Unruh Civil Rights Act
7                California Civil Code § 51, et seq., and the Disabled Persons Act
                                (Cal. Civ. Code §§ 54 & 54.1 et seq.)
8
           63. Ms. Benge refers to Paragraphs 1- 25, paragraphs 27-51, and paragraphs 53-62,
9
     inclusive, and incorporates them in this paragraph.
10
           64. The Unruh Civil Rights Act requires people with disabilities be provided equal
11
     access to the accommodations, advantages, facilities, privileges, and services of all business
12
     establishments of any kind. California Civil Code §§ 51, et seq. Further, “[a] violation of
13
     the right of any individual under the Americans with Disabilities Act of 1990 (Public Law
14
     101-336) … also constitute[s] a violation of [the Act].” Cal. Civ. Code § 51(f).
15
           65. Ms. Benge is a person with disabilities under California Government Code §
16
     12926 and California Civil Code § 51, et seq. Defendants are a business establishment as
17
     that term is used in California Civil Code § 51(b), in the administration, development, repair,
18
     maintenance, and control of the W Hotel facility, which is an accommodation, advantage,
19
     facility, privilege, and service of Defendants in California.
20
           66. Defendants violated the Unruh Civil Rights Act by denying Ms. Benge full and
21
     equal access, accommodations, advantages, facilities, privileges, and services to the W Hotel
22
     as alleged throughout this Complaint. Defendants’ misrepresentations, concealment, failure
23
     to warn, and material failure to comply with ADA standards was a violation of the Act.
24
     Defendants violated the Act by the unwarranted distribution of the video.
25
           67. Defendants knew Ms. Benge was disabled. Ms. Benge had provided Defendants’
26
     management with copies of doctor’s letters and statements which show she was disabled as a
27
     condition of being a resident in the W Hotel Residence. Defendants knew they had
28
     misrepresented and concealed the handicapped access ramp in the Hallways, knew the effect
                                                 19
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 1 their conduct was having on physically disabled persons, and distributed the video of Ms.
 2 Benge’s injuries to cause her further discrimination. Defendants nevertheless discriminated
 3 against Ms. Benge and other persons similarly situated on the basis she was physically
 4 disabled in violation of Civil Code sections 51 et seq., 54, and 54.1 et seq.
 5                                        FOURTH CLAIM
 6                (Against All Defendants for Premises Liability and Negligence)
 7         68. Ms. Benge refers to Paragraphs 1- 25, paragraphs 27-40 paragraphs 53-60, and
 8 paragraphs 64-67, inclusive, and incorporates them in this paragraph.
 9         69. Defendants had an affirmative duty to exercise ordinary care to keep the premises
10 in a reasonably safe condition for Ms. Benge. Defendants had the responsibility to inspect
11 the facility, ascertain dangerous conditions, and correct or repair known dangers to maintain
12 the property in safe condition. Defendants owned, leased, and operated the W Hotel and
13 Residence as an inn keeper, and Defendant owners and managers had a duty of care to warn
14 guests and invitees of lurking dangers that may not be open and obvious.
15         70. A dangerous and defective condition existed on the premises which was known to
16 Defendants, but was unknown to patrons and residents who Defendants invited on to the
17 premises. The condition of the Hallway constituted a dangerous and defective condition and
18 unreasonable risk of harm because of the unreasonable darkness of the hallway, failure to
19 replace burned out lights, the uneven stairway steps, the worn and high mat of the carpeting,
20 failure to warn and post signs of the existence of the handicapped access ramp, and the latent
21 defect of the hidden handicapped access ramp.
22         71. Defendants knew or should have known of the dangerous and defective condition
23 of the Hallway, and in the exercise of due care would have discovered and known of such
24 condition. Defendants’ knew or should have known of the risk to Ms. Benge because
25 Defendants or their predecessors in interest specifically contracted for the construction of the
26 handicapped access ramp to eliminate a known danger to patrons. The purpose of the
27 handicapped access ramp created during the construction of the W Hotel was to prevent
28 injuries to disabled individuals, such as Ms. Benge, which were foreseeable. Defendants

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 1 knew the latent defect of the hidden ramp created a foreseeable and dangerous condition on
 2 the premises to disabled persons, including Ms. Benge.
 3         72. Defendants breached their duty of due care and were negligent when they:
 4                (a) Negligently failed to keep the property in a reasonably safe condition;
 5                (b) Negligently failed to discover the unsafe conditions and to repair, replace,
 6 or give adequate warnings of anything that could reasonably be expected to harm others;
 7                (c) Negligently failed to remove the barrier, concealing curtains, and
 8 obstruction to the opening of the handicapped access ramp in the Hallway;
 9                (d) Negligently failed to provide adequate lighting in the Hallway and on the
10 stairs, and failed to replace burned out and non-operative lights in the Hallway;
11                (e) Negligently permitted persons lawfully on the premises, including Ms.
12 Benge, to use the stairway area when the Defendants knew, or by the exercise of reasonable
13 care should have known, of its dangerous dark and latent defect of the hidden ramp;
14                (f) Negligently failed to warn Ms. Benge of the dangerous condition in the
15 area, and to post signs, give warnings, or bring to the attention of patrons in the W Hotel that
16 the handicapped access ramp existed for their safety and protection;
17             (g) Negligently concealed the handicapped access ramp behind blackout
18 curtains where no patron or disabled person such as Ms. Benge could see or know of the
19 existence of the handicapped access ramp,
20          73. As a proximate and legal result of Defendants’ conduct, Ms. Benge fell on the
21 darkened Hallway while using the stairs on March 27, 2022, when the heel of her shoe
22 caught on the matted and worn carpeting on the uneven stairway, causing her to fall and
23 resulting in significant personal injuries, broken bones, and pain, suffering, and emotional
24 distress. Ms. Benge could not and did not know of the dangerous and defective condition of
25 the Hallway. Defendants are liable to Ms. Benge for the injuries she sustained on the
26 property as a result of Defendants’ failure to use due care as to the condition of the Hallway
27 and concealment of the handicapped access ramp.
28       WHEREFORE, Plaintiff, Ms. Wendy Benge, prays for judgment against Defendants

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 1 W Hotel Hollywood Management, Inc.; Hollywood Hotel OpCo, LLC.; ACORE Capital
 2 Mortgage, LP; Hollywood &Vine Residence Association; and Does 1 through 10, and each
 3 of them as follows:
 4         A. On the First Claim for Violation of the Americans with Disabilities Act, for
 5 injunctive and declaratory relief as requested in this Complaint, for civil penalties pursuant
 6 to 42 U.S.C §12188(b)(2)(C)(I); 28 C.F.R. § 85.5; and 28 C.F.R. § 36.504(a)(3)(I), and for
 7 attorney's fees as provided in 42 U.S.C. § 12205;
 8         B. On the Second Claim for Violation the Fair Housing Act, for compensatory and
 9 punitive damages in an amount to be proved at time of trial;
10         C. On the Third Claim for Violation of the Unruh Civil Rights Act for civil penalties,
11   compensatory and punitive damages to be proved at trial, and that the damages be trebled;
12         D. On the Fourth Claim for Premises Liability and Negligence for compensatory
13   damages in an amount to be proved at time of trial;
14         E. For a reasonable attorney's fee as provided by law;
15         F. For costs of suit incurred in this action;
16         G. For such further relief the Court deems appropriate.
17         DATED: March 15, 2023                   MAUREEN JAROSCAK
18
19

20
           Ms. Benge demands a jury trial.
21
22         DATED: March 15,2023                    MAUREEN JAROSCAK

23
24                                                                                s. Wendy Benge
25
26
27
28

                                                   22
                MS. BENGE'S COMPLIANT FOR VIOLATION OF THE ADA, FHA, AND UNRUH ACT
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                                   Exhibit “A”
                                                             Benge Complaint Exhibits
                                                                           Page 23
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              OF REALTORS             dP
                                                                FAIR HOUSING & DISCRIMINATION ADVISORY
                                                                                             (C.A.R. Form FHDA, 10/20)
 1.      EQUAL ACCESS TO HOUSING FOR ALL: All housing in California is available to all persons. Discrimination as noted below is
         prohibited by law. Resources are available for those who have experienced unequal treatment under the law.
 2.      FEDERAL AND STATE LAWS PROHIBIT DISCRIMINATION AGAINST IDENTIFIED PROTECTED CLASSES:
         A. FEDERAL FAIR HOUSING ACT ("FHA") Title VIII of the Civil Rights Act; 42 U.S. C. §§ 3601-3619; Prohibits discrimination in
              sales, rental or financing of residential housing against persons in protected classes;
         B. CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT ("FEHA") California Government Code ("GC") §§12900-
              12996, 12955; 2 California Code of Regulations ("CCR") §§12005-12271; Prohibits discrimination in sales, rental or financing of
              housing opportunity against persons in protected classes by providers of housing accommodation and financial assistance
              services as related to housing;
         C. CALIFORNIA UNRUH CIVIL RIGHTS ACT ("Unruh") California Civil Code ("CC") §51; Prohibits business establishments from
              discriminating against, and requires full and equal accommodation, advantages, facilities, privileges, and services to persons
              in protected classes;
         D. AMERICANS WITH DISABILITIES ACT ("ADA") 42 U.S.C. §§12181-12189; Title Ill of the ADA prohibits discrimination based
              on disability in public accommodations; and
         E. OTHER FAIR HOUSING LAWS: Section 504 of Rehabilitation Act of 1973 29 U.S.C. §794; Ralph Civil Rights Act CC §51.7.;
              California Disabled Persons Act; CC §§54-55.32; any local city or county fair housing ordinances, as applicable.
 3.      POTENTIAL LEGAL REMEDIES FOR UNLAWFUL DISCRIMINATION: Violations of fair housing laws may result in
         monetary civil fines, injunctive relief, compensatory and/or punitive damages, and attorney fees and costs.
 4.      PROTECTED CLASSES/CHARACTERISTICS: Whether specified in Federal or State law or both, discrimination against persons
         if based on that person's belonging to, association with, or perceived membership to, any of the following classes or categories is
         prohibited.
      Race                           Color                                     Ancestry                              National Origin                      Religion
      Sex                            Sexual Orientation                        Gender                                Gender Identity                      Gender Expression
                                     Familial Status (family with a            Source of Income (e.g.,               Disability (Mental &                 Medical Condition
      Marital Status
                                     child or children under 18)               Section 8 Voucher)                    Physical)
      Citizenship                    Primary Language                          Immigration Status                    MilitaryNeteran Status               Age
                 Criminal History (non-relevant convictions)                                   I                            Any arbitrary characteristic
 5.     THE CALIFORNIA DEPARTMENT OF REAL ESTATE REQUIRES TRAINING AND SUPERVISION TO PREVENT HOUSING
        DISCRIMINATION BY REAL ESTATE LICENSEES:
        A. California Business & Professions Code ("B&PC") §10170.5(a)(4) requires 3 hours of training on fair housing for ORE license
             renewal; Real Estate Regulation §2725(f) requires brokers who oversee salespersons to be familiar with the requirements of
            federal and state laws relating to the prohibition of discrimination.
        B. Violation of ORE regulations or real estate laws against housing discrimination by a real estate licensee may result in the loss
             or suspension of the licensee's real estate license. B&PC §10177(1)(1); 10 CCR §2780
 6.     REALTOR® ORGANIZATIONS PROHIBIT DISCRIMINATION: NAR Code of Ethics Article 10 prohibits discrimination in
        employment practices or in rendering real estate license services against any person because of race, color, religion, sex,
        handicap, familial status, national origin, sexual orientation, or gender identity by REALTORS®.
 7.     WHO IS REQUIRED TO COMPLY WITH FAIR HOUSING LAWS?
        Below is a non-exclusive list of providers of housing accommodations or financial assistance services as related to housing who
        are most likely to be encountered in a housing transaction and who must comply with fair housing laws.
             • Sellers                            • Landlords                                      • Sublessors
             • Real estate licensees              • Real estate brokerage firms                    • Property managers
             • Mobilehome parks                   • Homeowners Associations ("HOAs");              • Banks and Mortgage lenders
             • Insurance companies                • Government housing services
 8.     EXAMPLES OF CONDUCT THAT MAY NOT BE MOTIVATED BY DISCRIMINATORY INTENT BUT COULD HAVE A
        DISCRIMINATORY EFFECT:
        A. Prior to acceptance of an offer, asking for or offering buyer personal information or letters from the buyer, especially with photos.
            Those types of documents may inadvertently reveal, or be perceived as revealing, protected status information thereby increasing
            the risk of (i) actual or unconscious bias, and (ii) potential legal claims against sellers and others by prospective buyers whose
            offers were rejected.
        B. Refusing to rent (i) an upper level unit to an elderly tenant out of concern for the tenanfs ability to navigate stairs or (ii) a house
            with a pool to a person with young children out of concern for the children's safety.
 9.     EXAMPLES OF UNLAWFUL OR IMPROPER CONDUCT BASED ON A PROTECTED CLASS OR CHARACTERISTIC:
        A. Refusing to negotiate for a sale, rental or financing or otherwise make a housing opportunity unavailable; failing to present offers
            due to a person's protected status;
        B. Refusing or failing to show, rent, sell or finance housing; "channeling" or "steering" a prospective buyer or tenant to or away from a
            particular area due to that person's protected status or because of the racial, religious or ethnic composition of the neighborhood;
        C. "Blockbusting" or causing "panic selling" by inducing a listing, sale or rental based on the grounds of loss of value of property,
            increase in crime, or decline in school quality due to the entry or prospective entry of people in protected categories into the
            neighborhood;
        D. Making any statement or advertisement that indicates any preference, limitation, or discrimination;
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                                    FAIR HOUSING & DISCRIMINATION ADVISORY FHDA PAGE 1 OF 2
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 Compass, 9378 Wilshire Boulevard Suite 200 Beverly Hills, CA 90212 Phone: 310-893-8333 Fax: 310-247-1622 6250 ~S'od
 Joshua Morrow                             Produced with Lone Woff Transactions (zipForm Edition) 231 Shearson Cr. Cambridge, Ontario, Canada N1T 1J5 www.lwotf.com




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      E. Inquiring about protected characteristics (such as asking tenant applicants if they are married, or prospective purchasers if
        they have children or are planning to start a family);
    F. Using criminal history information before otherwise affirming eligibility, and without a legally sufficient justification;
    G. Failing to assess financial standards based on the portion of the income responsible by a tenant who receives government subsidies
        (such as basing an otherwise neutral rent to income ratio on the whole rent rather than just the part of rent that is the tenant's
         responsibility);
    H. Denying a home loan or homeowner's insurance;
    I.  Offering inferior terms, conditions, privileges, facilities or services;
    J. Using different qualification criteria or procedures for sale or rental of housing such as income standards, application
         requirements, application fees, credit analyses, sale or rental approval procedures or other requirements;
    K. Harassing a person;
    L. Taking an adverse action based on protected characteristics;
    M. Refusing to permit a reasonable modification to the premises, as requested by a person with a disability (such as refusing to
         allow a wheel chair bound tenant to install, at their expense, a ramp over front or rear steps, or refusing to allow a physically
        disabled tenant from installing, at their own expense, grab bars in a shower or bathtub);
    N. Refusing to make reasonable accommodation in policies, rules, practices, or services for a person with a disability (such as the
        following, if an actual or prospective tenant with a disability has a service animal or support animal):
        (i)    Failing to allow that person to keep the service animal or emotional support animal in rental property,
        (ii) Charging that person higher rent or increased security deposit, or
        (iii) Failing to show rental or sale property to that person who is accompanied by the service animal or support animal, and;
    0. Retaliating for asserting rights under fair housing laws.
10. EXAMPLES OF POSITIVE PRACTICES:
    A. Real estate licensees working with buyers or tenants should apply the same objective property selection criteria, such as
        location/neighborhood, property features, and price range and other considerations, to all prospects.
    B. Real estate licensees should provide complete and objective information to all clients based on the client's selection criteria.
    C. Real estate licensees should provide the same professional courtesy in responding to inquiries, sharing of information and
        offers of assistance to all clients and prospects.
    D. Housing providers should not make any statement or advertisement that directly or indirectly implies preference, limitation, or
        discrimination regarding any protected characteristic (such as "no children" or "English-speakers only'').
    E. Housing providers should use a selection process relying on objective information about a prospective buyer's offer or tenant's
        application and not seek any information that may disclose any protected characteristics (such as using a summary document,
        e.g. C.A.R. Form SUM-MO, to compare multiple offers on objective terms).
11. FAIR HOUSING RESOURCES: If you have questions about your obligations or rights under the Fair Housing laws, or you think
    you have been discriminated against, you may want to contact one or more of the sources listed below to discuss what you can do
    about it, and whether the resource is able to assist you.
    A. Federal: https:/lwww.hud.gov/program_offices/fair_housing_equal_opp
    B. State: https:/lwww.dfeh.ca.gov/housing/
    C. Local: local Fair Housing Council office (non-profit, free service)
    D. DRE: https:/lwww.dre.ca.gov/Consumers/FileComplaint.htrnl
    E. Local Association of REALTORS®. List available at: https:/lwww.car.org/en/contactus/rosters/localassociationroster.
    F. Any qualified California fair housing attorney, or if applicable, landlord-tenant attorney.
12. LIMITED EXCEPTIONS TO FAIR HOUSING REQUIREMENTS: No person should rely on any exception below without first
    seeking legal advice about whether the exception applies to their situation. Real estate licensees are not qualified to
    provide advice on the application of these exceptions.
    A. Legally compliant senior housing is exempt from FHA, FEHA and Unruh as related to age or familial status only;
    B. An owner of a single-family residence who resides at the property with one lodger may be exempt from FEHA for rental
        purposes, PROVIDED no real estate licensee is involved in the rental;
    C. An owner of a single-family residence may be exempt from FHA for sale or rental purposes, PROVIDED (i) no real estate
        licensee is involved in the sale or rental and (ii) no discriminatory advertising is used, and (iii) the owner owns no more than
        three single-family residences. Other restrictions apply;
    D. An owner of residential property with one to four units who resides at the property, may be exempt from FHA for rental
        purposes, PROVIDED no real estate licensee is involved in the rental; and
    E. Both FHA and FEHA do not apply to roommate situations. See, Fair Housing Council v Roommate. com LLC, 666 F.3d 1216 (2019).
    F. Since both the 14th Amendment of the U.S. Constitution and the Civil Rights Act of 1866 prohibit discrimination based on race;
        the FHA and FEHA exemptions do not extend to discrimination based on race.
BuyerfTenant and Seller/Landlord have read, understand and acknowledge receipt of a copy of this Fair Housing & Discrimination Advisory.

BuyerfTenant                                                 Wendy M Benge D a t e - - - - - - - -
BuyerfTenant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date _ _ _ _ _ _ __

Seller/Landlord                                                                                                Dominick TousignantDate _ _ _ _ _ _ __
Seller/Landlord _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _Date _ _ _ _ _ _ __
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                                   Exhibit “B”

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                                                              US & CANADA




   W Hotels
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globaldesignstrategies

designstandards
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                                                                 • NFPA 101 Life Safety Code (US)
                                                                 • ANSI Standards
                                                                 • UL and ASTM Standards
                                                                 • Current ADA Standards for Accessibility Design https://www.ada.gov

                                                            4. Code Integration: Follow these Design Standards when they exceed
                                                                 requirements of governing codes or accessibility guidelines.

                                                            5. Refer conflicts with Design Standards to the MI project team for resolution.



                                                    GR1.6 Accessibility



                                                    A. Meeting the Needs of All Guests: In keeping with the best traditions of Marriott's
                                                            hospitality, we extend hotel services to all guests, including those with
                                                            disabilities.

                                                            1. We work diligently to apply the best current thinking on accessibility features
                                                                 to each new hotel, and each hotel renovation.

                                                            2. Recognizing that we operate and acquire hotels originally built under
                                                                 previous requirements, we constantly seek to improve the physical
                                                                 accessibility of our hotels, removing existing barriers wherever feasible, as
                                                                 well as extending services where barriers remain.

                                                    B. Accessibility Standards Compliance: If governing accessibility standards do not
                                                            exist, comply with the criteria as outlined by the U.S. ADA Standards for
                                                            Accessible Design. At the minimum, comply with accessibility regulations of the
                                                            country where the project is located and the following required criteria for
                                                            persons with disabilities:

                                                            1. Building Access: Provide an accessible public path of travel into the building
                                                                 and into spaces accessible to guests.

                                                            2. Service: Provide access to services generally available to property guests.

                                                            3. Public Toilets: Public area restrooms have accessible toilet compartments,
                                                                 urinals, and lavatories.

                                                            4.         ADA Reference: Internet site at: http://www.ada.gov

                                                    C. Conflicts: In cases where the governing accessibility laws conflict or are not
                                                            mutually addressed, consult with MI to develop a program that accommodates
                                                            the guest's expectations.

                                                    D. Accessibility Design Compliance:


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            1. Building Access and Route:

                  a. Provide an accessible route for persons with disabilities to Building Entry
                        Areas to comply with all applicable accessibility regulations.

                  b. Public Entrances: Design 60% of public entrances, with at least one
                        ground floor entrance and one pedestrian entrance from a parking
                        structure for access by persons with disabilities.

                  c. Doorways: At exterior and interior doorways, provide an 82 cm (32 inch)
                        minimum clear opening with approach and strike side clearance.
                        Typically, provide 46 cm (18 inch) minimum clear at the strike side to
                        adjacent wall for an in-swinging door.

                  d. Provide accessible check-in accommodations in compliance with
                        governing accessibility regulations and coordinated with the Hotel Brand
                        Design.

            2. Signage: Comply with governing regulations for signage and graphics
                  specifications. Follow signage specifications including the intent of the
                  Americans with Disabilities Act (ADA) Accessibility Guidelines unless
                  superseded by local governing regulations. Implement required and
                  customized signage such as Braille if usage is prevalent in the region.

            3. Recreation and Fitness:

                  a. Locate recreation facilities and guest amenities along accessible routes.
                        Design facilities for access by guests with disabilities.

                  b. Where a boardwalk or similar beach access is provided, no less than one
                        route is accessible for guests with disabilities.

                  c. Swimming Pools: Provide a permanent transfer lift at each pool and whirl
                        pool or other accommodation as required by governing regulation.

            4. Accessible Guestrooms: Design room layout for use by guests with
                  disabilities.

                  a. Standard: Current version of the ADA Standards for Accessibility Design
                        (https://www.ada.gov)

                  b. Quantities: Provide Accessible guestroom quantities as required by the
                        accessibility standards noted above.

                  c. Hearing Impaired: Accommodate persons with hearing impairments as
                        required by the accessibility standard noted above.
                        • Provide doorbell strobe / chime (flush style) as required with an on / off
                        switch inside room.
                        • Telephones with volume control handsets and text telephones as


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                                                               required by governing accessibility regulations are available at the front
                                                               desk.

                                                            d. Incorporate the same Brand design requirements as in standard
                                                               Guestrooms. Provide accessories equal to standard Guestrooms and
                                                               elevated design aesthetics.
                                                               • Accessories shall include but are not limited to grab bars, showering
                                                               and bathing plumbing fixtures, shower and tub seats, accessible closet
                                                               rod.

                                                            e. Bed Requirements:
                                                                • Install bed with an overall height of 56 cm (22 inch) with an allowable
                                                               range of 53 cm to 58 cm (21 to 23 inch) from finished floor to top of
                                                               uncompressed mattress, unless otherwise dictated by applicable State or
                                                               local laws.
                                                                • Provide 18 cm (7 inch) high clearance under long side of bed with a 76
                                                               cm (30 inch) minimum depth and 91 cm (36 inch) minimum width to
                                                               accommodate a Hoyer or similar person lift unless otherwise dictated by
                                                               applicable State or local laws.
                                                                • On platform frames provide appropriate support for mattress where
                                                               clear opening for lift occurs.

                                                            f. Connect accessible guestrooms (ADA rooms) to a standard guestroom.

                                                            g. Door Hardware to match hardware designed for standard guestrooms.

                                                            h. Viewer: Furnish two at accessible rooms; install lower viewer at 1.0 to 1.6
                                                               m (40 to 42 inch) above finish floor.

                                                            i. Guest Bathroom: At accessible roll-in showers, provide a secondary floor
                                                               drain outside the shower area.




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   !              !               !               !               !              !        Inland!Empire!Minimally!Invasive!Surgery!
                Dr. Michael F. Sedrak
   !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!   !        1902!Fullerton!Ave,!Suite!101,!Corona,!CA!92881!
   !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!        !        Email:!!mike_sedrsk@sbcglobal.net!
   !               !                !!!!!!!         !               !            !        Tel:!818G296G0526!Fax#!818!446G9897!
   !               !                !               !               !            !        Tax!ID:!81G1086961/NPI:!1083070494!



                                                                                     May!5,!2021!
   !
   TO:!!Airlines,!MIQ,!and!Immigration:!
   !
   RE:!!SERVICE!DOG!
   !
   Dear!Sir!or!Madam:!
   !
   Ms. Benge has been a patient under my care since 2013. Ms. Benge is a 70% disabled veteran
   with underlying medical conditions. I am intimately familiar with her medical history and the
   functional limitations imposed by her disabilities and related disorders. I am requesting and
   recommending that that Ms. Benge receive the medical benefits for her disability and by the
   ownership of her Service Dog Bijou dela Hound.

   Ms. Benge meets the definition of disability under the Americans with Disabilities Act, Fair
   Housing Act and the Rehabilitation Act of 1973 by the continued suffering of petit-mal epilepsy,
   absent seizures, head trauma and PTSD among other ailments consisting of asthma, scarred lungs
   and anxiety.

   Due to symptoms associated with her disability/disorder Ms. Benge has certain limitations that
   substantially limit one or more major life activities. This includes physiological and
   psychological disturbances of which having a service dog, around the clock, including housing
   and her work environment, greatly benefits her life and are a medical necessity.

   In order to help alleviate or mitigate these difficulties and to enhance her living and work
   environment I have approved and recommended a service animal to assist in her disabilities. Ms.
   Benge’s Service Dog has been trained under the supervision of expert dog trainers at Canyon
   View Ranch in Topanga, CA and meets the requirement of ADI as a certified Service Dog.

   Bijou has been trained perform medically necessary tasks to stay with her handler at all times
   during her episodes/seizures, to provide notice of such episodes to others during such debilitating
   episodes, along with alleviating stress that could develop into asthma or panic attacks that stem
   from her disabilities.

   Per the law above and due to the medical necessity deriving from such conditions please allow
   Ms. Benge to be accompanied by her trained service dog Bijou, a 20 pound, beagle mix in the
   cabin of its airline in accordance with Air Carrier Access Act (49 U.S.C. 41705 and 14 C.F.R.
   382). I further make an appeal to allow Ms. Benge to be accompanied by her Service Dog
   through any quarantine or any holdings of more than 5 hours. !
   !
   Sincerely,!
   !
   !
   Dr.!Michael!F.!Sedrak!M.D!
   !



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                                   Exhibit “D”



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                                   Exhibit “E”



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